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1     DAVID F. BEACH, ESQ. (SBN 127135)
      beach@perrylaw.net
2     SARAH JANE T.C. TRUONG, ESQ. (SBN 314966)
      truong@perrylaw.net
3
      PERRY, JOHNSON, ANDERSON,
4     MILLER & MOSKOWITZ, LLP
      438 First Street, Fourth Floor
5     Santa Rosa, CA 95401
      Telephone: (707) 525-8800
6     Facsimile: (707) 545-8242
7
      Attorneys for Defendants
8     NICHOLAS FINN, et al.
                                        UNITED STATES DISTRICT COURT
9
                                     NORTHERN DISTRICT OF CALIFORNIA
10
      JOSEPH SCHWARTZ, et al.                                 CASE NO.       20-cv-2044-SK
11
                      Plaintiffs,                             DEFENDANTS’ NOTICE OF MOTION AND
12                                                            MOTION TO DISMISS FIRST AMENDED
              vs.                                             COMPLAINT
13
      NICHOLAS FINN, et al.                                   Date:     July 13, 2020
14                                                            Time:     9:30 a.m.
                      Defendants.                             Location: Courtroom C, 15th Floor
15                                                            Assigned to Judge Sallie Kim
16

17    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
18            Please take notice that on July 13, 2020, at 9:30 a.m., in Courtroom C, 15th Floor, of the
19    United States District Court, San Francisco Courthouse, located at 450 Golden Gate Ave., San
20    Francisco, CA 94102, defendants NICHOLAS FINN, et al. (“Defendants”) will, and hereby do,
21    move this court for an order dismissing with prejudice Plaintiffs’ First Amended Complaint (Doc.
22    5) and all claims asserted therein in their entirety.
23            The Motion is brought pursuant to Federal Rule of Civil Procedure 12(b)(6) for failure to
24    state a claim upon which relief can be granted. This Motion is based on this Notice of Motion and
25    Motion; the attached Memorandum of Points and Authorities; the pleadings and filings in this
26    action; and such further evidence or argument properly before the Court.
27    ///
28    ///

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1     DATED: June 5, 2020                       PERRY, JOHNSON, ANDERSON,
                                                MILLER & MOSKOWITZ, LLP
2
                                          By:    /s/ David F. Beach
3                                               DAVID F. BEACH
                                                SARAH JANE T.C. TRUONG
4                                               Attorneys for Defendants
                                                NICHOLAS FINN, et al
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1     DAVID F. BEACH, ESQ. (SBN 127135)
      beach@perrylaw.net
2     SARAH JANE T.C. TRUONG, ESQ. (SBN 314966)
      truong@perrylaw.net
3
      PERRY, JOHNSON, ANDERSON,
4     MILLER & MOSKOWITZ, LLP
      438 First Street, Fourth Floor
5     Santa Rosa, CA 95401
      Telephone: (707) 525-8800
6     Facsimile: (707) 545-8242
7
      Attorneys for Defendants
8     NICHOLAS FINN, et al.
                                    UNITED STATES DISTRICT COURT
9
                                   NORTHERN DISTRICT OF CALIFORNIA
10
      JOSEPH SCHWARTZ, et al.                     CASE NO.       20-cv-2044-SK
11
                     Plaintiffs,                  MEMORANDUM OF POINTS AND
12                                                AUTHORITIES IN SUPPORT OF
             vs.                                  DEFENDANTS’ MOTION TO DISMISS FIRST
13                                                AMENDED COMPLAINT
      NICHOLAS FINN, et al.
14                                                Date:     July 13, 2020
                     Defendants.                  Time:     9:30 a.m.
15                                                Location: Courtroom C, 15th Floor

                                                  Assigned to Judge Sallie Kim
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1                                              I. INTRODUCTION

2            Defendants move to dismiss Plaintiffs’ First Amended Complaint (Doc. 5) (the

3     “Complaint”) pursuant to Federal Rule of Civil Procedure 12(b)(6) for failure to state a claim upon

4     which relief can be granted.       The Complaint asserts tort claims for fraudulent and negligent

5     misrepresentation arising out of financial disclosures certain Defendants made as part of a series of

6     operations transfer and leasing transactions for skilled nursing facilities in four states. Despite that

7     Plaintiffs state in their Complaint that they knew “immediately” that the financial disclosures

8     allegedly were false, Plaintiffs continued to move forward with the series of transactions and then

9     waited more than three years to file the claims in this case.

10           Further, the disclosures made by Defendants were pursuant to written contracts. Those

11    contracts contain and govern all representations by Defendants related to the disclosures. The

12    contracts also govern and limit the Plaintiffs’ rights and remedies, expressly precluding the relief

13    Plaintiffs seek in the Complaint.         Moreover, Plaintiffs’ grievance is actually not that the

14    Defendants’ disclosures and related representations were false – because they weren’t – but rather

15    that the Plaintiffs were unable to replicate the Defendants’ accurately represented results with the

16    facilities. In fact, the only particular thing the Plaintiffs actually allege is that they could not get as

17    favorable terms from a vendor as those Defendants had. This is not misrepresentation, fraudulent,

18    negligent, or otherwise.

19           In short, Plaintiffs’’ claims are belated, belied by the underlying documents, and seek to
20    impose liability for conduct that, even as alleged, was not wrongful. Accordingly, and as shown

21    herein, the Complaint fails to state a claim for multiple reasons, including:

22           •   The claims are untimely under both the applicable statutes of limitation and applicable
23               contract provisions.

24           •   Tort claims are barred by the economic loss doctrine because they are for nothing more

25               than violation of contract terms.

26           •   The contracts expressly preclude the claims, damages, and other remedies sought.

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1            •    The Complaint fails to plead the elements of fraud, much less with the required
2                 particularity.

3            •    The individual Plaintiffs lack standing.

4            •    Plaintiffs fail to identify any particularized facts that would state a claim against the

5                 individual Defendants.

6     For these reasons, as set forth in detail below, the Court should grant this motion and dismiss the

7     Complaint in its entirety with prejudice.

8                            II. THE STANDARD FOR MOTIONS TO DISMISS

9            A Rule 12(b)(6) motion to dismiss challenges the legal sufficiency of the claims alleged in

10    the complaint. Conservation Force v. Salazar, 646 F.3d 1240, 1241-42 (9th Cir. 2011). Dismissal

11    for failure to state a claim upon which relief can be granted may be based on either the “lack of a

12    cognizable legal theory”     or   on     “the     absence   of sufficient facts   alleged   under   a

13    cognizable legal theory.” Id. at 1242 (internal quotation marks and citation omitted); Marshall v.

14    Danone US, Inc. 402 F. Supp.3d 831, 834 (N.D. Cal. 2019).

15           A court’s review on a 12(b)(6) motion to dismiss “is limited to the complaint,
             materials incorporated into the complaint by reference, and matters of which the
16           court may take judicial notice.” Cedar Point Nursery v. Shiroma, 923 F.3d 524, 530
             (9th Cir. 2019) (citing Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308,
17           322 (2007)). Moreover, in evaluating the complaint, the court must “accept factual
             allegations in the complaint as true and construe the pleadings in the light most
18           favorable to the nonmoving party.” Manzarek v. St. Paul Fire & Marine Ins. Co.,
             519 F.3d 1025, 1031 (9th Cir. 2008).
19
      In re Google Asst Privacy Litig, No. 19-CV-04286-BLF, 2020 WL 2219022, at *3 (N.D. Cal., May
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      6, 2020).
21
                           III. THE FACTS FOR PURPOSES OF THIS MOTION
22
             A. The Parties, the Transactions, and the Claims
23
             This case arises from the transfer of operations at skilled nursing facilities (“SNFs”) in four
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      states pursuant to separate, but substantively identical contracts known as Operations Transfer
25
      Agreements (“OTAs”), and the related leasing of the SNF premises pursuant to two Master Leases.
26
      All but two Plaintiffs are entities that were each a party to a separate OTA for each SNF transferred,
27
      and also to one of the two Master Leases covering the transferred SNFs (the “Entity Plaintiffs”).
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1     There are also two individuals, Joseph and Rosie Schwartz, who own and control the Entity

2     Plaintiffs, but who are not party to any of the OTAs or either of the Master Leases (the “Individual

3     Plaintiffs”). (Complaint at ¶¶ 1-63.)

4            Defendants are the following: (i) entities that previously held the license to operate the

5     SNFs, each of which transferred them to one of the Entity Plaintiffs pursuant to separate OTAs (the

6     “Former Operator Defendants); (ii) the landlord entities, each of which is a party to one of the two

7     Master Leases (the “Landlord Defendants”); (iii) two individuals, Nicholas Finn and Ronald E.

8     Silva, who are not party to any of the OTAs or either of Master Leases and who are lumped in with

9     the other Defendants in a conclusory manner in the counts of the Complaint despite no indication of

10    what facts allegedly make them individually liable to Plaintiffs (the “Individual Defendants”); and

11    (iv) GGNSC Administrative Services, LLC (“GGNSC Admin”), which Plaintiffs allege to have

12    marketed the SNFs (Complaint at ¶¶ 64-192).

13           All the Defendants except one of the two individuals are alleged to be citizens of California.

14    (Complaint at ¶ 188). According to the Complaint, all the limited liability company Defendants

15    trace their membership back to a non-party corporation that has “its principal place of business in

16    San Francisco, California.” (Complaint at ¶¶ 66-186). The Complaint further alleges that “a

17    substantial part of the acts or omissions giving rise to this action occurred in the Northern District of

18    California.” (Complaint at ¶ 190).

19           The Complaint alleges that “as part of it marketing scheme” for the SNFs, Defendant
20    GGNSC, through its agent Houlihan Lokey, “prepared misleading, false, and manipulated financials

21    for each of its nursing home facilities with the purpose of enticing prospective tenants and new

22    operators to overpay for the lease of its facilities.” (Complaint at ¶¶ 192-93). “Specifically,” the

23    Complaint alleges, “Defendants knew that several of its expenses in the disclosed financial

24    statements were significantly below the rates that would be charged to any new operator of those

25    facilities. This includes, but is not limited to, the preferential rates GGNSC Admin received from

26    Staffing 360 (the staffing company used for all of its facilities) would not be extended to any

27    subsequent operator of those facilities.” (Complaint at ¶ 194).

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1            According to the Complaint, “Instead of accurately representing the expenses on the

2     disclosed financial statements to reflect this increase in costs to operate the facilities, or at the very

3     least notate that the preferential rates would [not] continue, GGNSC, through its agent Houlihan

4     Lokey, intentionally and willfully reduced the expense figure in prior years to reflect its most

5     currently negotiated contract.” (Complaint at ¶195). There are no other particularized factual

6     allegations of wrongful conduct by Defendants in the Complaint.

7            The Complaint continues that “in reliance on the financial statements and representations

8     made by Defendants,” the Plaintiffs “on or about August 26, 2016” entered into twenty (20)

9     separate OTAs for Nebraska facilities and fifteen (15) separate OTAs for the Kansas facilities; “on

10    or about December 7, 2016” entered into nineteen (19) separate OTAs for the South Dakota

11    facilities and seven (7) separate OTAs for certain Pennsylvania facilities; “on or about January 2,

12    2017” entered into, and made security deposit and lease payments on, a Second Amended and

13    Restated Master Lease for the Nebraska, Kansas, and South Dakota premises; and “on or about”

14    February 1, 2017 entered into, and made security deposit and lease payments on, a Master Lease for

15    the Pennsylvania premises. (Complaint at ¶¶ 197-208). Exhibits A-D to the Complaint are copies

16    of an “executed and representative OTA” for the Nebraska, Kansas, South Dakota, and

17    Pennsylvania transactions, respectively. Exhibits E and F are copies of the Second Amended and

18    Restated Master Lease for the Nebraska, Kansas, and South Dakota premises and the Master Lease

19    for the Pennsylvania premises, respectively.
20           The Complaint goes on to allege that, “It became immediately apparent after taking control

21    of the operations at each of the facilities that the financial statements and representations made by

22    Defendants were false and misleading.” (Complaint at ¶ 209) (emphasis added). Yet not only did

23    Plaintiffs continue to accept operations of the facilities in the series of transactions that occurred

24    over months, Plaintiffs pursued no remedies under the OTAs. Instead, more than three years later

25    the Plaintiffs filed this action on March 24, 2020 (Doc. 1). They filed their First Amended

26    Complaint on March 27, 2020. (Doc. 5). The Complaint contains no claims for breach of contract.

27    Instead, it contains the same two tort claims, for fraudulent and negligent misrepresentation,

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1     repeated separately for each Plaintiff as to each OTA and each Master Lease transaction against the

2     corresponding Former Operator Defendants and Landlord Defendants as well as GGNSC. The two

3     Individual Plaintiffs, Joseph and Rosie Schwartz, who are not parties to any of the OTAs or leases,

4     also purport to assert the two tort claims against all Defendants, and all the Plaintiffs purport to

5     assert the two tort claims against the two individual Defendants, Mr. Finn and Mr. Silva, although

6     neither of them is a party to any of the OTAs or either of the Master Leases, and the Complaint

7     alleges no particular acts or omissions by either of them in their individual capacities. It seeks

8     punitive damages and demands a jury trial. (Complaint at 163.)

9              So while the Complaint promiscuously invokes the generalized epithet “false,” when closely

10    read the only thing in it resembling a particularized allegation is actually not that the financial

11    disclosures were actually false. Indeed, and significantly, the Complaint never directly disputes that

12    the disclosures presented fairly and accurately in all material respects the financial condition of the

13    SNFs and the results of operation of the SNFs at the dates and for the periods indicated consistent

14    with operator’s past practices in preparing financial statements,” which is the entirety of what the

15    Defendants actually represented about the disclosures in the OTAs.

16             B. The OTAs Govern the Defendants’ Financial Disclosures Upon Which Plaintiffs’

17                Claims are Based

18             The Complaint understandably fails to say so, but each of the OTAs provides for and

19    governs the financial disclosures and related representations upon which Plaintiffs’ claims are

20    based.    The OTAs also contain other provisions relevant to Plaintiffs’ attempt to pursue tort

21    remedies in disregard of the express contract terms.        Specifically, the “representative” OTAs

22    attached as Exhibits A-D to the Complaint contain the following relevant provisions:

23             Section 14.1(F) in the Representations and Warranties section on Page 16 the OTAs,

24    provides for the financial disclosures upon which Plaintiffs’ claims are based:

25             Prior to the date hereof, Operator has delivered or otherwise made available in the VDR
               [Virtual Data Room] to New Operator copies of the unaudited balance sheets of the Facility
26             for the years ending December 31, 2014, and December 31, 2015, and statements of income
               for the years then ended, and Operator has delivered copies of an unaudited interim balance
27             sheet of the Facility at June 30, 2016, and statements of income with respect to the Facility
               for the six (6) month period then ended (collectively, the “Facility Financial Statements”).
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1            To the actual knowledge of Operator’s Senior Executives, except as set forth on Schedule
             14.1(F), the Facility Financial Statements present fairly and accurately in all material
2            respects the financial condition of the Facility and the results of operation of the Facility at
             the dates and for the periods indicated consistent with Operator’s past practices in preparing
3            financial statements.

4     (Bold in originals). Schedule 14.1(F) of the OTAs does not contain any exceptions.

5            In Section 2(C) on Page 3 of the OTAs the Entity Plaintiffs expressly disclaim, release, and

6     waive any representations other than those expressly contained in the OTAs:

7            … EXCEPT FOR THOSE EXPRESSLY SET FORTH IN THIS TRANSFER
             AGREEMENT, OPERATOR HAS NOT MADE ANY REPRESENTATION OR
8            WARRANTY REGARDING ANY OF THE FOREGOING ASSETS, PROPERTIES
             AND RIGHTS OR ANY OTHER MATTER REGARDING OR RELATING TO THE
9            TRANSACTIONS CONTEMPLATED HEREBY. EXCEPT FOR THOSE
             EXPRESSLY SET FORTH IN THIS TRANSFER AGREEMENT, OPERATOR
10           HEREBY DISCLAIMS, AND NEW OPERATOR FOREVER WAIVES AND
             RELEASES, ALL REPRESENTATIONS AND WARRANTIES OF ANY KIND,
11           WHETHER EXPRESS OR IMPLIED, WITH RESPECT TO THE FOREGOING
             ASSETS, PROPERTIES AND RIGHTS OR ANY OTHER MATTER REGARDING
12           OR RELATING TO THE TRANSACTION CONTEMPLATED HEREBY …

13    (Capitals in original; Bold emphasis added).

14           Section 17 on Pages 23 and 24 of the OTAs on Survival and Indemnification contains

15    several relevant subsections, including limitations on available remedies and recoverable damages,

16    a prohibition on individual liability, and time limits for asserting claims:

17           (A)    Except as specifically set forth in this Agreement, the representations, warranties and
             covenants contained in this Transfer Agreement, and in any agreements, certificates or other
18           instruments delivered pursuant hereto, shall not survive the Closing hereunder and the
             consummation of the transactions contemplated hereby.
19
             …
20
             (E)  (i) EXCEPT AS SUCH MAY BE PART OF ANY CLAIM OF ANY THIRD
21           PARTY, UNDER NO CIRCUMSTANCES SHALL OPERATOR, NEW OPERATOR
             OR ANY AFFILIATE THEREOF BE RESPONSIBLE OR LIABLE IN ANY WAY
22           FOR INCIDENTAL, CONSEQUENTIAL, SPECIAL OR PUNITIVE DAMAGES,
             DIMINUTION IN VALUE, OR ANY EXEMPLARY DAMAGES, REGARDLESS OF
23           WHETHER THE ACTION IS FOUNDED IN CONTRACT, TORT, STATUTORY
             OR OTHERWISE, AND BOTH PARTIES AGREE THAT IN NO EVENT SHALL
24           EITHER ASSERT, CLAIM, DEMAND OR OTHERWISE REQUEST SUCH
             DAMAGES. (Capitals and bold emphasis in originals).
25

26                  (ii)    For the avoidance of doubt, no individual officer, director, member,
             managing member, shareholder, equity holder, partner, employee, agent, or
27           representative of either Party shall have any liability for any claims of the other Party

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1            related to this Transfer Agreement, or any agreements, certificates or instruments
             delivered in connection herewith, in any way. (Emphasis added).
2

3                   (iii)  The remedies provided in this Section 17 shall be the sole and exclusive
             remedies post-Closing that may be available to a Party or an Asserting Party with
4            respect to any matters arising under or relating to this Transfer Agreement, any
             document executed and delivered pursuant to the provisions hereof and the transactions
5            contemplated herein. (Bold emphasis added).

6
             (F)     Consistent with Section 17(A), neither Party shall have any liability under this
7            Transfer Agreement or otherwise to the other Party for any claims asserted after the end of
             the applicable Survival Period, as follows: (i) for a breach of the representations and
8            warranties, and the pre-closing covenants and obligations, contained in this Transfer
             Agreement, and in any agreements, certificates or other instruments delivered pursuant
9            hereto, shall survive Closing for the period of one (1) year after the Closing Date; and (ii)
             post-closing covenants and obligations shall survive for the periods as follows: (a) for claims
10           related to Excluded Liabilities, and claims related to Recoupments or misdirected funds,
             three (3) years after the Closing Date, and (b) any other claim under this Transfer
11           Agreement, including without limitation non-monetary obligations for access and/or
             retention of records, confidentiality, general cooperation, and further assurances, the
12           relevant statute of limitations (subsections (i), (ii)(a), and (ii)(b) each being a “Survival
             Period”). To the extent that a claim is asserted in writing within the applicable Survival
13           Period, the Party asserting the claim shall have thirty (30) days after the end of the Survival
             Period to institute formal litigation, in which event the specific amounts as to which the
14           claim is asserted will survive until the full and final resolution of such claim.
             Notwithstanding the foregoing, no Party shall be liable for any Loss resulting from or
15           relating to any inaccuracy in or breach of any representation, warranty, pre-Closing
             covenant or obligation, in this Transfer Agreement if the Party seeking indemnification for
16           such Loss had knowledge of such inaccuracy or breach before Closing.

17           Section 20 of the OTAs provides, in relevant part:

18           Applicable Law; Consent to Jurisdiction. This Transfer Agreement shall be governed by and
             construed in accordance with the laws and judicial decisions of the State.
19
      “State” is defined in the Recitals of the OTAs as the state where the subject SNF is located.
20
             Sections 25 and 27 on Pages 25 and 26 of the OTAs provide for a waiver of jury trial and an
21
      exclusion of representations not provided in the OTA:
22
             25.  Waiver of Jury Trial. EACH OF THE PARTIES HEREBY KNOWINGLY,
23           VOLUNTARILY AND INTENTIONALLY WAIVES, TO THE FULLEST EXTENT
             PERMITTED BY LAW, ANY RIGHT TO TRIAL BY JURY IN ANY LEGAL ACTION
24           BROUGHT ON OR WITH RESPECT TO THIS TRANSFER AGREEMENT,
             INCLUDING TO ENFORCE OR DEFEND ANY RIGHTS HEREUNDER, AND AGREES
25           THAT ANY SUCH ACTION SHALL BE TRIED BEFORE A COURT AND NOT
             BEFORE A JURY. (Capitals in original).
26
             …
27
             27.     Entire Agreement. This Transfer Agreement constitutes the entire agreement
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1            between the Parties regarding the matters provided herein and supersedes all prior
             negotiations, documents or writings with respect thereto. There are no other written
2            statements, promises, or representations made by the Parties that are intended to alter,
             modify or complement this Transfer Agreement. …
3
             The Master Leases attached as Exhibits E and F to the Complaint, which relate to the
4
      Nebraska, Kansas, and South Dakota premises and to the Pennsylvania premises, respectively, each
5

6     contain the following provisions, set forth in relevant part here:

7            24.10 Governing Law; Jury Waiver. This Lease shall be governed by and construed and
             enforced in accordance with the internal laws of Delaware, without regard to the conflict of
8            laws rules thereof; … EACH PARTY HEREBY WAIVES ANY RIGHTS TO TRIAL
             BY JURY IN ANY ACTION, PROCEEDING OR COUNTERCLAIM BROUGHT BY
9            EITHER PARTY AGAINST THE OTHER IN CONNECTION WITH ANY
             MATTER WHATSOEVER ARISING OUT OF OR IN ANY WAY CONNECTED
10           WITH THIS LEASE, INCLUDING RELATIONSHIP OF THE PARTIES,
             TENANT’S USE AND OCCUPANCY OF THE PREMISES, OR ANY CLAIM OF
11           INJURY OR DAMAGE RELATING TO THE FOREGOING OR THE
             ENFORCEMENT OF ANY REMEDY. (Emphasis in original).
12
             24.11 Entire Agreement. This Lease constitutes the entire agreement of the parties with
13           respect to the subject matter hereof, and may not be changed or modified except by an
             agreement in writing signed by the parties. Landlord and Tenant hereby agree that all prior
14           or contemporaneous oral understandings, agreements or negotiations relative to the leasing
             of the Premises are merged into and revoked by this Lease. …
15
               IV. WHAT STATE’S LAW APPLIES TO PLAINTIFFS’ TORT CLAIMS?
16
             A. The Choice of Law Analysis
17
             The Court must first determine what substantive law applies to Plaintiffs’ tort claims.
18
      “Under the Erie doctrine, federal courts sitting in diversity apply state substantive law and federal
19
      procedural law.” Gasperini v. Ctr for Humanities, Inc., 518 US 415, 427 (1996). Moreover, a
20
      “federal court sitting in diversity ordinarily must follow the choice-of-law rules of the State in
21
      which it sits.” In re Facebook Biometric Information Privacy Litigation., 185 F. Supp. 3d 1155,
22
      1167–68 (N.D. Cal. 2016) (citations omitted).
23
             The initial step in this process is to determine if the “applicable law” provision in the OTAs
24
      or the “Governing Law” provision in the Master Leases applies to any of the Plaintiffs’ tort claims
25
      in this action. California choice of law rules dictate that whether a contractual choice-of-law
26
      provision encompasses tort claims related to the contract is a question of contract interpretation that
27
      is determined pursuant to the law specified in the contractual choice of law provision. Cannon v.
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1     Wells Fargo Bank NA, 917 F. Supp. 2d 1025, 1051 (N.D. Cal. 2013) (citing Nedlloyd Lines B.V. v.

2     Superior Court, 3 Cal.4th 459, 469 n. 7 (1992)); see also JMP Sec. LLP v. Altair Nanotech.

3     Inc., 880 F. Supp. 2d 1029, 1035–36 (N.D. Cal. 2012) (applying Nedlloyd).

4             Accordingly, the Court must look to the laws of the four states where SNFs are located, and

5     to the law of Delaware referred to in the Master Leases, to determine whether a contractual choice

6     of law provision covers Plaintiffs’ tort claims. Under the laws of all but Kansas it clearly does not.

7     The analysis for Kansas is a little more complicated, but upon completing it the Court should apply

8     California law to all of Plaintiffs’ claims.

9             B. Nebraska

10            “Focusing on the parties’ intent, courts in Nebraska distinguish between broad and narrow

11    choice of law provisions in order to determine whether a choice of law agreement includes tort

12    claims.” Richardson Intl (US) Ltd v. Buhler Inc., No. 8:14CV148, 2017 WL 11485738, at *5 (D.

13    Neb., March 23, 2017). In Richardson, the court had before it the following contractual choice of

14    law clause very similar to the one in the OTAs here:

15            “This Agreement shall be governed by the Uniform Commercial Code as adopted in the
              State of North Carolina and is in effect on the date of this Agreement and the Buyer and
16            Seller expressly agree that North Carolina law shall govern and be applied to all issues of
              interpretation or of substantive law which arise under this Contract.
17

18    Id. at *1 (emphasis in original). Relying on an Eighth Circuit case also applying Nebraska law, the

19    court held that the clause was “narrow” and did not encompass tort claims related to the contract:

20            The court finds the choice of law provision in the Contract does not cover the plaintiff’s tort
              claims. The language used in the Contract, when read according to its plain meaning, does
21            not effectively displace the entire body of Nebraska law but merely provides that the North
              Carolina law of contract interpretation and substantive contract law applies to contract
22            disputes.

23    Id. at *7. The same result should obtain here.

24            C. South Dakota

25            Two recent decisions by the U.S. District Court of South Dakota make clear that South

26    Dakota choice of law analysis is the same as that of Nebraska for purposes of this case. The

27    “applicable law” provision in the OTAs for the South Dakota SNFs is “narrow” and does not

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1     encompass the South Dakota Entity Plaintiffs’ tort claims.

2              In SMA, LLC v. Chief Indus, Inc., No. 3:17-CV-03021-RAL, 2020 WL 1515758, at *7

3     (D.S.D., March 30, 2020), the court, applying South Dakota choice of law principles, considered a

4     contractual provision much like the one in the OTAs here: “This Agreement shall be governed by,

5     and construed in accordance with, the internal laws of the State of Nebraska, USA.” Said the court,

6     relying in part on the same Eighth Circuit case as did the Nebraska District Court in Richardson,

7     “This is what is considered to be a narrow choice of law provision, as opposed to a

8     broad choice of law provision that would subject any and all claims of any nature between the

9     parties to a particular state’s law.” Id. Accordingly, the court held that this “contract language does

10    not state that all claims between SMA and Chief Industries are governed by Nebraska law, but only

11    that “[t]his Agreement shall be governed by ... laws of the State of Nebraska.” Id.

12           Another judge of the District Court of South Dakota reached the same result in another very

13    recent decision. In Fischer Farms v. Big Iron Auction Co, Inc., No. CIV 19-4111, 2020 WL

14    475607, at *3 (D.S.D., January 28, 2020) the contractual choice of law clause provided:

15            Jurisdiction and Venue: This Agreement shall be binding and effective when signed by a
             representative of BigIron, shall be deemed to have been entered into in Nebraska and shall
16           be governed and construed in accordance with the laws of the State of Nebraska. Seller
             knowingly and voluntarily consents and submits to the jurisdiction of the State of Nebraska
17
             for the purposes of adjudicating all rights and liabilities to the Parties pursuant to this
18           Agreement.”

19    While the issue before the court in Fischer was venue, in the course of its analysis the court spoke
20    to the scope of the choice of law clause under South Dakota law. The court first acknowledged that
21    “issues of contract interpretation will likely be decided under Nebraska law pursuant to the choice-
22    of-law provision in the Written Agreement.” Id. at *7. But as to plaintiffs’ “several torts claims,”
23    the court stated:
24           “It is questionable whether these would be governed by the Written Agreement’s choice-of-
             law provision. See Inacom Corp. v. Sears, Roebuck & Co., 254 F.3d 683, (8th Cir. 2001)
25           (applying Nebraska law to a clause providing that the “agreement shall be governed by and
             construed in accordance with Illinois law,” reasoning that “[w]hile this provision
26           adequately covers disputes concerning how to construe the [agreement], the language is not
             broad enough to govern the choice of law for the fraudulent concealment claim, which
27           sounds in tort. Although the claim arose out of the circumstances surrounding the formation
             of the contract, there is no indication in the [agreement] that the parties intended to elect
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1            Illinois law as the forum for every contract-related claim.).

2     Fischer, 2020 WL 475607, at *8.

3            Thus, on both the very recent occasions on which the District Court of South Dakota had

4     occasion to consider whether a “narrow” contractual choice of law clause like the one in the OTAs

5     here covered tort as well as contract claims it decided that the clause did not.

6            D. Pennsylvania

7            Several decisions by the state and federal courts of Pennsylvania establish that Pennsylvania

8     choice of law analysis is the same as that of Nebraska and South Dakota for purposes of the

9     Pennsylvania purchaser-operator Plaintiffs’ claims. The “applicable law” provision in the OTAs for

10    the Pennsylvania SNFs is, again, a “narrow” one and does not cover the tort claims in this case.

11           The Pennsylvania analytical framework for the scope of choice of law clauses is well and

12    succinctly stated in the oft-cited case Jiffy Lube Intern, Inc. v. Jiffy Lube of Pennsylvania, Inc., 848

13    F. Supp. 569, 576 (E.D. Pa. 1994) (internal citations omitted).

14           Contractual choice of law provisions, however, do not govern tort claims between
             contracting parties unless the fair import of the provision embraces all aspects of the legal
15           relationship. Courts analyze choice of law provisions to “determine, based on their
             narrowness or breadth, whether the parties intended to encompass all elements of their
16           association.” A careful reading of the choice of law provision at issue here demonstrates its
             restricted scope. The provision is limited on its face to “this agreement.” As such, the
17           Maryland choice of law provision only governs the construction, interpretation and
             enforcement of the 1987 Agreement. Elph’s various tort claims of fraud and
18           misrepresentation require a separate choice of law analysis.

19           The Third Circuit has relied on Jiffy Lube and multiple other cases applying Pennsylvania

20    choice of law analysis to hold that a provision stating that an clause stating that “[t]his agreement

21    will be governed by, and construed and enforced in accordance with, the laws of” a state, which is

22    even broader than the choice of law clause in the OTAs here, is still “narrow” and does not apply to

23    fraud claims. See Black Box Corp. v. Markham, 127 Fed. App’x 22, 25–26 (3rd Cir. 2005). Thus,

24    Pennsylvania law is abundant and clear that a “narrow” contractual choice of law clause like the one

25    in the OTAs here does not apply to tort claims like the Pennsylvania Entity Plaintiffs’ here.

26           E.      Delaware

27           Although the tort claims relate to financial disclosures made pursuant to the OTAs and not

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1     the Master Leases, the Plaintiffs may attempt to argue for application of the Delaware choice of law

2     clauses in those Master Leases. Under Delaware law, however, such a choice of law clause is

3     narrow and does not include tort claims.

4             In VSI Sales, LLC v. Intl Fid Ins Co, No. CV 15-507-GMS, 2015 WL 5568623, at *3 (D.

5     Del., September 22, 2015), the U.S. District Court for Delaware addressed this issue directly and

6     with citation to multiple Delaware state law authorities:

7             Before applying a choice-of-law provision to a claim, Delaware courts examine whether the
              contracting parties drafted the provision broadly or narrowly. See Gloucester Holding Corp.
8             v. U.S. Tape and Sticky Products, LLC, 832 A.2d 116, 124 (Del. Ch. 2003). Courts have
              held that choice-of-law provisions that explicitly apply to “any claim arising out of or
9             relating to” a contract are broad enough to cover quasi-contract and tort claims arising from
              contractual agreements. See id.; Eby v. Thompson, No. 03C-10-010, 2005 WL 1653988, at
10            *3 (Del. Super. Ct. April 20, 2005). Courts have held that narrow choice-of-law provisions
              that do not include such expansive language apply only to claims directly arising from the
11            contracts themselves. See Gloucester, 832 A.2d at 124; Huffington v. T.C. Group, LLC, No.
              N11C-01-030, 2012 WL 1415930, at *11 (Del. Super. Ct. April 18, 2012) (“The choice of
12            law provision, without language such as arises out of or relates to,” only requires the Court
              to apply Delaware law to claims challenging the terms and provisions of the Subscription
13            Agreement.” (emphasis in original)).

14    The “narrow” choice of law clause in the two Master Leases here does not include the “expansive

15    language” required to encompass tort claims and therefore applies “only to claims directly arising

16    from the contracts themselves.”

17            In 2018, the U.S. District Court for the Southern District of California relied on VSI Sales in

18    conducting the very same analysis now required of this Court:

19            “Delaware courts examine whether the contracting parties drafted the choice-of-law
              provision broadly or narrowly.” VSI Sales, LLC v. Int’l Fidelity Ins. Co., No. 15-507-GMS,
20            2015 WL 5568623, at *3 (D. Del. Sept. 22, 2015). Specifically, Delaware courts have found
              that a choice-of-law provision that applies to “any claim arising out of or relating to” a
21            contract is broad enough to also cover quasi-contract and tort claims arising from contractual
              agreements. Gloucester Holding Corp. v. U.S. Tape and Sticky Prods., LLC, 832 A.2d 116,
22            124 (Del. Ch. 2003). Narrow choice-of-law provisions, however, apply only to claims
              directly arising from the contract itself. See id.
23

24    Lorem Vascular, Pty Ltd v. Cytori Therapeutics, Inc., No. 18CV815 MMA (MDD), 2018 WL

25    3388096, at *8 (S.D. Cal. July 11, 2018); but see Abry Partners V, L.P. v. F & W Acquisition LLC,

26    891 A.2d 1032, 1048 (Del. Ch. 2006). The same result should obtain here.

27    ///

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1            F. Kansas

2            While there is not much Kansas authority on this issue, the U.S. District Court for Kansas

3     recently relied on an unpublished decision of the Kansas Court of Appeals to hold that “a provision

4     stating: “This agreement shall be construed and interpreted in accordance with the laws of the state

5     of Kansas (irrespective of such state’s conflict of law principles)....” dictated that “choice-of-law

6     clauses establishing the law ‘governing’ or ‘construing’ the documents in which they appear,

7     nonetheless, encompass tort claims directly related to or affecting the rights and obligations created

8     or memorialized there.” Cessna Fin Corp. v. JetSuite, Inc., No. 18-1095-EFM-KGG, 2020 WL

9     430211, at *8 (D. Kan., January 28, 2020) (quoting Enter. Bank & Tr. v. Barney Ashner Homes,

10    Inc., 2013 WL 1876293, at *16 (Kan. Ct. App. 2013)) (emphasis in original). Because the

11    “applicable law” clause of the OTAs for the Kansas SNFs here contains similar “governed by and

12    construed in accordance with” language, the OTA “applicable law” clause likely applies to the

13    Entity Plaintiffs’ tort claims related to the transfers of the Kansas SNFs’ operations.

14           But that does not end the analysis. Even if a contractual choice of law clause providing for

15    application of another state’s law covers tort claims California’s choice of law rules require

16    application of the multi-part test set out in Restatement (Second) of Conflict of Laws § 187 as set

17    forth in Nedlloyd Lines B.V. v. Superior Court, 3 Cal. 4th 459 (1992); See, e.g., King v. Bumble

18    Trading, Inc., 393 F. Supp. 3d 856, 865 (N.D. Cal. 2019); Commerce Point Capital, Inc. v. First

19    Data Corp., No. 19-CV-556-W (LL), 2019 WL 7020057, at *3–4 (S.D. Cal., December 20, 2019).

20           Under Nedlloyd, a court must first determine whether California would be the state of the

21    applicable law in absence of an effective choice of law by the parties. 3 Cal. 4th at 465-466. Here,

22    California law applies to Plaintiffs’ non-contractual claims because California is the forum state, all

23    the Defendants but one individual are alleged to be California citizens, and Plaintiff alleges that “a

24    substantial part of the acts or omissions giving rise to this action occurred in the Northern District of

25    California.” (Complaint at ¶ 190); See id. 467. The Court must therefore continue the analysis with

26    reference to California and Kansas and their respective laws.

27           The next step under the Nedloyd framework is to determine if Kansas has a substantial

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1     relationship to the parties or their transaction, or whether there is any other reasonable basis for the

2     parties’ choice of law. Id. at 465-466. If so, the Court proceeds to determine “whether the chosen

3     state’s law is contrary to fundamental policy of California.” Id. at 466.

4            “To determine the public policy of a state, ‘the Constitution, laws, and judicial decisions of
             that state, and as well the applicable principles of the common law, are to be considered.’
5            ” Ahn, 798 F.3d at 1156 (quoting Twin City Pipe Line Co. v. Harding Glass Co., 283 U.S.
             353, 357, 51 S.Ct. 476, 75 L.Ed. 1112 (1931)). No bright-line rules govern this
6            analysis. See Century 21 Real Estate LLC v. All Prof’l Realty, Inc., 889 F. Supp. 2d 1198,
             1216 (E.D. Cal. 2012), aff’d, 600 F. App’x 502 (9th Cir. 2015) (citing Rest., § 187 cmt.
7            g); see also Discover Bank v. Super. Ct., 134 Cal. App. 4th 886, 893, 36 Cal.Rptr.3d 456
             (2005) (“We are not aware of any bright-line rules for determining what is and what is not
8            contrary to a fundamental policy of California”). It is clear, however, that the policy must be
             a “substantial” one. See Brack v. Omni Loan Co., 164 Cal. App. 4th 1312, 1323, 80
9            Cal.Rptr.3d 275, (2008) (citing Rest., § 187 cmt. g).

10    King, 393 F. Supp.3d at 866.

11           Kansas has relationship to the parties and transactions related to the transfer of the Kansas

12    SNFs’ operations since those facilities are located in Kansas. As to whether the relevant portion of

13    Kansas law is contrary to fundamental policy in California law, both states recognize the “economic

14    loss doctrine” whereby claimants like Plaintiffs here are prevented from

15           “asserting a tort remedy in circumstances governed by the law of contracts.” BHC Dev., L.C.
             v. Bally Gaming, Inc., 985 F. Supp. 2d 1276, 1287 (D. Kan. 2013) (citations omitted). In
16           effect, this means that plaintiffs cannot recover under tort theories when their claims are
             actually based in contract. In other words, if plaintiffs' claims arise under the contract – “as
17           opposed to an independent duty arising by operation of law” – plaintiffs cannot assert tort
             claims to recover economic damages. Rand Const. Co. v. Dearborn Mid-W. Conveyor Co.,
18           944 F. Supp. 2d 1042, 1062 (D. Kan. 2013); see Andrewjeski v. Bimbo Foods Bakeries
             Distribution, LLC, No. 18-2425-KHV, 2019 WL 2250068, at *13 (D. Kan. May 24, 2019).
19
20    Pipeline Productions, Inc. v. Madison Companies, LLC, No. CV 15-4890-KHV, 2020 WL

21    1274968, at *4 (D. Kan., March 17, 2020). However, whereas “the economic loss doctrine is still

22    developing under Kansas law, and Kansas courts have largely limited its application to the

23    commercial product liability sphere[,]” id., in California the doctrine is fully developed and

24    unquestionably applies beyond the “commercial product liability sphere.” See, e.g., Robinson

25    Helicopter Co. v. Dana Corp., 34 Cal. 4th 979, 988 (2004). Under California law:

26           The economic loss rule, in summary, “is that no tort cause of action will lie where the breach
             of duty is nothing more than a violation of a promise which undermines the expectations of
27           the parties to an agreement.” Oracle USA, Inc. v. XL Global Services, Inc., C 09–00537
             MHP, 2009 WL 2084154, at *4 (N.D. Cal. July 13, 2009). This rule serves to prevent every
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1            breach of a contract from giving rise to tort liability and the threat of punitive damages:
             “Quite simply, the economic loss rule prevents the law of contract and the law of tort from
2            dissolving one into the other.” Robinson Helicopter Co. v. Dana Corp., 34 Cal.4th 979, 988
             (Cal.2004) (internal quotation marks and brackets omitted). Limiting recovery to contract
3            damages makes it easier for parties to “estimate in advance the financial risks of their
             enterprise.” Freeman & Mills, Inc. v. Belcher Oil Co., 11 Cal.4th 85, 106 (Cal.1995)
4            (quoting Applied Equip. Corp. v. Litton Saudi Arabia Ltd., 7 Cal.4th 503, 515
             (Cal.1994)); Foley v. Interactive Data Corp., 47 Cal.3d 654, 694 (Cal.1988). As a result, the
5            rule is particularly applicable when a party alleges “commercial activities that negligently or
             inadvertently [went] awry.” Robinson Helicopter, 34 Cal.4th at 991 n.7. However, the
6            economic loss rule can still bar fraud and other intentional tort liability if those claims do not
             arise independently of the breach of contract claims. See id. at 990.
7

8     WeBoost Media SRL v. LookSmart Ltd, No. C 13-5304 SC, 2014 WL 824297, at *4 (ND Cal,

9     February 28, 2014). Thus, by virtue of Kansas “largely limiting” circumstances in which the

10    economic loss doctrine is applicable to the “commercial product liability sphere,” while California

11    applies the doctrine in other contexts like this case, a relevant portion of Kansas law is contrary to

12    fundamental policy in California law.

13           Because there is a conflict between Kansas law and a fundamental policy in California law,

14    the Court then must ask whether California has a materially greater interest than does Kansas. To

15    determine whether Kansas or California has a materially greater interest, the Court must examine:

16    “(1) the place of contracting; (2) the place of negotiation of the contract; (3) the place of

17    performance; (4) the location of the subject matter of the contract; and, (5) the domicile, residence,

18    nationality, place of incorporation, and place of business of the parties.” Ruiz v. Affinity Logistics

19    Corp., 667 F.3d 1318, 1324 (9th Cir. 2012) (citing 1–800–Got Junk? LLC v. Superior Court, 189
20    Cal. App. 4th 500, 513 n.10 (2010)). The Complaint makes no allegation as to the first three factors.

21    As to the fourth factor, both Kansas and California have connections since the SNFs are located in

22    Kansas, but the Complaint alleges that “a substantial part of the acts or omissions giving rise to this

23    action occurred in the Northern District of California.” (Complaint at ¶ 190). California also has a

24    connection to the fifth, since the Complaint alleges that all the Defendants but one individual are

25    alleged to be California citizens. The Complaint does not allege that any Plaintiff is a citizen of

26    Kansas. Plaintiffs picked California as the forum and allege that “a substantial part of the acts or

27    omissions giving rise to this action occurred in” this district.

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1            Evaluating these factors, California has a materially greater interest in the claims by the

2     Kansas Entity Plaintiffs than does Kansas. Accordingly, the Court should apply California law to

3     those claims despite the Kansas “applicable law” clause in the relevant OTAs.

4            G. Conclusion

5            At the conclusion of this choice of law steeplechase it is apparent that for purposes of this

6     motion to dismiss the claims alleged by Plaintiffs, the Court should apply California law to all

7     Plaintiffs’ claims. See JMP Sec LLP v. Altair Nanotechnologies Inc., 880 F. Supp.2d at 1037;

8     Workplace Techs. Research, Inc. v. Project Mgmt. Inst., Inc., No. 18CV1927 JM (MSB), 2019 WL

9     1239314, at *9 (S.D. Cal., March 18, 2019) (absent an effective choice of law agreement California

10    choice of law rules permit court to apply the decisional rules of its forum state unless litigant timely

11    invokes the law of a foreign state).

12                                              V. ARGUMENT

13           A. Plaintiffs’ Claims are Untimely Under the Applicable Statute of Limitation, and the

14               Entity Plaintiffs’ Claims are Also Untimely Under the OTAs

15           Under California law, fraud and misrepresentation claims are subject to a three-

16    year statute of limitations. Cal. Civ. Proc. Code § 338(d); see Kline v. Turner, 87 Cal. App. 4th

17    1369, 1373 (2001) (“An action for relief on the grounds of fraud or mistake must be commenced

18    within three years.”); Yetter v. Ford Motor Company, 428 F. Supp. 210, 221 (N.D. Cal. 2019);
      Finnell v. Ford Motor Co., No. 5:19-CV-08030-EJD, 2020 WL 1082704, at *1 (N.D. Cal. March 6,
19
      2020). “A claim for negligent misrepresentation has either a two-year or three-year statute of
20
      limitations, depending on whether the essence of the claim is negligence or fraud.” Arnold v.
21
      Metlife Auto & Home Ins. Agency, Inc., No. 19-CV-03920-VKD, 2020 WL 1067005, at *7 n.5
22
      (N.D. Cal. March 5, 2020) (citing Johnston v. Covidien, LP, No. C19-01419 WHA, 2019 WL
23
      2410720, at *3 (N.D. Cal. June 7, 2019)) (other citations omitted). Causes of action grounded in
24
      fraud or mistake are “not deemed to have accrued until the discovery, by the aggrieved party, of the
25
      facts constituting the fraud or mistake.” Cal. Civ. Proc. Code § 338(d).
26
             Plaintiffs allege that “It became immediately apparent after taking control of the
27
      operations at each of the facilities that the financial statements and representations made by
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1     Defendants were false and misleading.” (Complaint at ¶ 209)1 (emphasis added). Based on the

2     allegations in, and the exhibits to, the Complaint, therefore, Plaintiff’s causes of action accrued on

3     October 1, 2016 (the date of the Master Lease) for the Nebraska-related claims; November 1, 2016

4     (the date of the Amended and Restated Master Lease adding the Kansas facilities to the Master

5     Lease) for the Kansas-related claims; January 1, 2017 (the date of the Second Amended and

6     Restated Master Lease adding the South Dakota facilities to the Amended and Restated Master

7     Lease) for the South Dakota-related claims; and February 1, 2017 (the date of the second Master

8     Lease) for the Pennsylvania-related claims.

9                Accordingly, all Plaintiffs’ fraudulent and negligent misrepresentation claims were untimely

10    when filed on March 24, 2020. The applicable statutory limitation period on the fraudulent

11    misrepresentation claims had expired from almost five to almost two months earlier. On the

12    negligent misrepresentation claims, the essence of which was clearly negligence rather than fraud or

13    else they would be nothing more than duplicates of the fraudulent misrepresentation claims, the

14    applicable statutory limitation period expired from almost seventeen to almost fourteen months

15    earlier.

16               Plaintiffs’ claims are also untimely under the time limitations of the OTAs. As noted above,

17    the financial disclosures upon which Plaintiffs’ claims are based are pursuant to and governed by

18    Section 14.1(F) in the Representations and Warranties of the OTAs. The express representation

19    made by the Former Operator Defendants with regard to those financial disclosures was that, “To
20    the actual knowledge of Operator’s Senior Executives, except as set forth on Schedule 14.1(F), the

21    Facility Financial Statements present fairly and accurately in all material respects the financial

22    condition of the Facility and the results of operation of the Facility at the dates and for the periods

23    indicated consistent with Operator’s past practices in preparing financial statements.” (Emphasis in

24    original). The OTAs, and thus the Entity Plaintiffs, expressly disclaimed and excluded any and all

25

26    1
       Interestingly, Plaintiffs filed the Amended Complaint and again pled that the alleged fraud was
      “immediately apparent after taking control of the operations at each of the facilities” (emphasis
27    added), hence doubling down on exactly when Plaintiffs knew of the alleged misrepresentations.
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1     representations not contained in the OTAs.

2            Under Section 17(F) of the OTAs, however, the survival period for breach of the

3     representations and warranties, including the financial disclosures, was “one (1) year after the

4     Closing Date.” To the extent that a claim was asserted in writing within the survival period, the

5     party asserting the claim had thirty (30) days after the end of the survival period to institute formal

6     litigation. Despite pleading that the alleged inaccuracy of the financial disclosures was

7     “immediately apparent” to them “after taking control of the operations at each of the facilities,” the

8     Plaintiffs did not assert any claim within the applicable survival period under the OTAs. Indeed,

9     they did not assert any claim until filing this action more than three years later.

10           Thus, all Plaintiffs’ claims are time-barred and should be dismissed for failure to state a

11    claim. Netlist, Inc. v. SMART Storage Sys., Inc., No. 13-CV-5962-YGR, 2014 WL 4380760, at

12    *3 (N.D. Cal. Sept. 4, 2014) (citing In re Brocade Commc’ns Syst., Inc. Derivative Litig., 615 F.

13    Supp.2d 1018, 1035 (N.D. Cal. 2009) (“If the expiration of the applicable statute of limitations is

14    apparent from the face of the complaint, the defendant may raise a statute of limitations defense in

15    a Rule 12(b)(6) motion to dismiss”).

16           B. The Economic Loss Doctrine Bars the Entity Plaintiffs’ Tort Claims

17           As briefly discussed above, “‘The economic loss rule [states] that no tort cause of action will

18    lie where the breach of duty is nothing more than a violation of a promise which undermines the

19    expectations of the parties to an agreement.’” JMP Securities LLP v. Altair Nanotechnologies, Inc.,

20    880 F. Supp. 2d at 1042. In Robinson Helicopter Co., Inc. v. Dana Corp., 34 Cal. 4th 979, 988

21    (2004), the California Supreme Court explained, “The economic loss rule requires a purchaser to

22    recover in contract for purely economic loss due to disappointed expectations, unless he can

23    demonstrate harm above and beyond a broken contractual promise.” The oft-articulated purpose of

24    this rule is to maintain a distinction between tort law and contract law. “Quite simply, the economic

25    loss rule “prevent[s] the law of contract and the law of tort from dissolving one into the other.” Id.

26    at 988 (quoting Rich Prod. Corp. v. Kemutec, Inc., 66 F. Supp. 2d 937, 969 (E.D. Wis. 1999); see

27    also Giles v. General Motors Acceptance Corp., 494 F.3d 865, 873 (9th Cir. 2007) (“Broadly

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1     speaking, the economic loss doctrine is designed to maintain a distinction between damage

2     remedies for breach of contract and for tort.”).

3             Accordingly, “[t]he [economic loss] rule generally bars tort claims based on contract

4     breaches, ‘thereby limiting contracting parties to contract damages.’” UMG Recordings, Inc. v.

5     Global Eagle Entm’t Inc., 117 F. Supp. 3d 1092, 1103 (C.D. Cal. 2015) (citing United Guar. Mortg.

6     Indem. Co. v. Countrywide Financial Corp., 660 F. Supp. 2d 1163, 1180 (C.D. Cal. 2009)); Lever

7     Your Business, Inc. v. Sacred Hoops & Hardwood, Inc., No. 519CV1530CASKKX, 2019 WL

8     7050226, at *6–7 (C.D. Cal. Dec. 23, 2019).

9             While there are some exceptions to the economic loss rule, it is well-established that

10    “[C]onduct amounting to a breach of contract becomes tortious only when it also violates a duty

11    independent of the contract arising from principles of tort law.” Underwriters at Lloyd’s v. Abaxis,

12    Inc., No. 19-CV-02945-PJH, 2020 WL 1677341, at *3 (N.D. Cal. Apr. 6, 2020) (quoting Erlich v.

13    Menezes, 21 Cal. 4th 543, 551 (1999)). But where, as here, the alleged misrepresentations are part

14    of and pursuant to the contract, and no duty independent of the contract is alleged or exists, the

15    economic loss doctrine bars claims like Plaintiffs. See, e.g., Ridgway v. Phillips, No. 18-CV-07822-

16    HSG, 2020 WL 1288464, at *8 (N.D. Cal., Mar. 18, 2020) (granting Rule 12(b)(6) dismissal where

17    “Plaintiff’s fraud claim rests on purported misrepresentations that are the alleged terms of the

18    contract and not conduct independent of the agreement.”); Mishiyev v. Alphabet, Inc., No. C 19-

19    05422 WHA, 2020 WL 1233843, at *4 (N.D. Cal. Mar. 13, 2020) (same). And there cannot be
20    misrepresentations outside the contract because of the integration clause in Section 2(C) of the

21    OTAs.

22            Additionally, “[A] negligent misrepresentation claim paralleling a contract claim that prays

23    only for economic damages will be barred by the economic loss rule unless the plaintiff alleges both

24    that the defendant made an affirmative misrepresentation, and that the defendant’s

25    misrepresentation exposed the plaintiff to independent personal liability.” Crystal Springs Upland

26    Sch. v. Fieldturf USA, Inc., 219 F. Supp. 3d 962, 970 (N.D. Cal. 2016) (citation omitted) (emphasis

27    added); see also Robinson v. J.M. Smucker Co., No. 18-CV-04654-HSG, 2019 WL 2029069, at

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1     *6 (N.D. Cal., May 8, 2019) (granting motion to dismiss “because Plaintiff has not pled any

2     personal liability, the Court finds the negligent misrepresentation claim barred by the economic loss

3     rule”). The Entity Plaintiffs here have likewise pled no personal liability, and the economic loss

4     doctrine therefore bars their negligent misrepresentation claims.

5            C. The OTAs Preclude the Entity Plaintiffs’ Claims

6            The OTAs expressly preclude the Entity Plaintiffs’ claims. For example, in Section 2(C) of

7     the OTAs the Entity Plaintiffs expressly disclaimed, released, and waived any and all

8     representations with regard to the assets, properties, rights, or “any other matter regarding or

9     relating to the transaction contemplated hereby.” Section 27 contains an integration clause

10    providing that, “There are no other written statements, promises, or representations made by the

11    Parties that are intended to alter, modify or complement this Transfer Agreement.” In the

12    Complaint, however, the Entity Plaintiffs seek to pursue just such disclaimed, released, and waived

13    claims after having failed to timely pursue them pursuant to the terms, procedure, and time limits in

14    the OTAs. The disclaimers of reliance in the OTAs are sufficiently specific to satisfy even

15    California’s standard for using such a clause as a basis for dismissing fraud claims for lacking the

16    required element of reliance. See, e.g., Abrams v. Blackburne and Sons Realty Capital Corp., No.

17    219CV06947CASAS, 2019 WL 8640656, at *13 (C.D. Cal. Dec. 2, 2019) (citing Signal Hill Serv.,

18    Inc. v. Macquarie Bank Ltd., No. 11-CV-1539-MMM (JEMx), 2013 WL 12244056, at *7 (C.D.

19    Cal. June 12, 2013) (the non-reliance clause can be effective to bar fraud claims if it contains

20    sufficient level of specificity); see also Hinesley v. Oakshade Town Ctr., 135 Cal. App.

21    4th 289, 300–302 (2005) (disclaimer of reliance clause should have put contract party on notice to

22    ask further questions and was factor in determining whether the plaintiff justifiably relied on alleged

23    representations).

24           Similarly, in Section 17(E)(i) of the OTAs the Entity Plaintiffs expressly agreed that “under

25    no circumstances” would any of the Seller Entities be liable for punitive damages and that “in no

26    event” would they “assert, claim, demand or otherwise request such damages. In spite of this the

27    Complaint requests such damages. While California law will not enforce a contractual waiver of

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1     punitive damages that are “statutorily imposed remedies,” such is not the case here where the Entity

2     Plaintiffs seek only common law punitive damages. Zaborowski v. MHN Gov’t Servs., Inc., 936 F.

3     Supp. 2d 1145, 1155 (N.D. Cal. 2013) aff’d 601 Fed. App’x 461 (9th Cir. 2014). Accordingly, the

4     Court should enforce the Entity Plaintiffs’ punitive damages waiver and dismiss or strike their

5     punitive damages demand.

6              Likewise, in Section 17(E)(ii) of the OTAs the Entity Plaintiffs expressly agreed that, “For

7     the avoidance of doubt, no individual officer, director, member, managing member, shareholder,

8     equity holder, partner, employee, agent, or representative of either Party shall have any liability for

9     any claims of the other Party related to this Transfer Agreement …” Notwithstanding this crystal

10    clear provision the Complaint seeks to impose liability on the Individual Defendants for claims

11    “related to” the OTAs.

12             Section 25 of the OTAs contains a “knowingly, voluntarily, and intentionally” made jury

13    trial waiver, but the Entity Plaintiffs nonetheless seek a jury trial. The law is clear, however, that

14    “The right to a jury trial in federal court is governed by federal law and, under federal law, parties

15    may contractually waive their right to a jury trial.” Bell-Sparrow v. SFG*Proschoicebeauty (N.D.

16    Cal.    Mar.   14,   2019,   No.    18-CV-06707-YGR)        2019   WL     1201835,     at   *8   citing

17    Applied Elastomerics, Inc. v. Z-Man Fishing Prods., Inc., 521 F. Supp. 2d 1031, 1044 (N.D. Cal.

18    2007) (citation omitted). The Court should enforce the Entity Plaintiffs’ waiver and dismiss or strike

19    their jury demand.
20             Perhaps most emphatically, in Section 17(E)(iv) of the OTAs the Entity Plaintiffs expressly

21    agreed that, “The remedies provided in this Section 17 shall be the sole and exclusive remedies

22    post-Closing that may be available to a Party or an Asserting Party with respect to any matters

23    arising under or relating to this Transfer Agreement, any document executed and delivered pursuant

24    to the provisions hereof and the transactions contemplated herein.” (Emphasis in original).

25    Although their claims in this case clearly related to documents delivered pursuant to the OTAs and

26    to the transactions contemplated in the OTAs, the Entity Plaintiffs did not pursue the remedies

27    provided in Section 17 of the OTAs and instead seek to pursue other remedies in the Complaint. But

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1     the Entity Plaintiffs agreed in the OTAs that they could not do this.

2            D. The Complaint Fails to Plead the Elements of Fraud, Much Less with Particularity

3            Federal Rule of Civil Procedure 9(b) requires that “a party must state with particularity the

4     circumstances constituting fraud or mistake. Allegations of fraud must “be specific enough to give

5     defendants notice of the particular misconduct so that they can defend against the charge and not

6     just deny that they have done anything wrong. Averments of fraud must be accompanied by the

7     who, what, when, where, and how of the misconduct charged.” Holley v. Gilead Scis., Inc., 379 F.

8     Supp. 3d 809, 817 (N.D. Cal. 2019) (citing Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106

9     (9th Cir. 2003)). The Plaintiffs fail to meet this standard here.

10           For example, the Complaint alleges, that the Defendants “prepared misleading, false, and

11    manipulated financials for each of its nursing home facilities with the purpose of enticing

12    prospective tenants and new operators to overpay for the lease of its facilities.” (Complaint at ¶¶

13    192-93). But the Complaint does not identify the particular “financials” to which it refers, the

14    “when” of the period or periods to which those financials related, or the “where” and “how” the

15    alleged false statements were made.

16           Next, the Complaint alleges that the “Defendants knew that several of its expenses in the

17    disclosed financial statements were significantly below the rates that would be charged to any new

18    operator of those facilities. This includes, but is not limited to, the preferential rates GGNSC Admin

19    received from Staffing 360 (the unrelated staffing company used for all of its facilities) would not

20    be extended to any subsequent operator of those facilities.” (Complaint at ¶ 194). But this is not an

21    allegation of “false” financials, but rather of true ones for the Defendants’ operations of the SNFs.

22    Moreover, the Complaint identifies only one of the purported “several” expenses.

23           Indeed, this allegation shows that the financial disclosures were exactly as they were

24    represented to be in the OTAs, which expressly disclaimed and excluded any other representations

25    other than that, “To the actual knowledge of Operator’s Senior Executives, except as set forth on

26    Schedule 14.1(F), the Facility Financial Statements present fairly and accurately in all material

27    respects the financial condition of the Facility and the results of operation of the Facility at the dates

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1     and for the periods indicated consistent with Operator’s past practices in preparing financial

2     statements.” Even though the Complaint asserts claims sounding in “misrepresentation” it fails to

3     note this, the only representation the Former Operator Defendants actually made with regard to the

4     financial disclosures described above, much less to allege that the actual, specific representation as

5     to those disclosures was false in any way.

6            E. The Complaint Fails to State a Claim by the Individual Plaintiffs, who also Lack

7                Standing

8            As to Individual Plaintiffs Joseph and Rosie Schwartz the Complaint repeatedly states that

9     they, along with the Entity Plaintiffs, “justifiably relied upon the financials and entered into an OTA

10    and lease agreement with Defendants … .” But the OTAs and Master Leases attached as exhibits to

11    the Complaint belie this allegation as to the Individual Plaintiffs. They are not parties to the OTAs

12    or the Master Leases. Mr. Schwartz signed such documents in his capacity as manager of the Entity

13    Plaintiffs, but not in his individual capacity. California law is clear that “[M]embers of an LLC hold

14    no direct ownership interest in the company’s assets and therefore are not directly injured when

15    the company suffers an improper deprivation of those assets.” In re Real Mktg. Servs., LLC, 309

16    B.R. 783, 788 (S.D. Cal. 2004) (citing PacLink Commc’ns Int’l, Inc. v. Superior Court, 90 Cal.

17    App. 4th 958, 964 (2001)). The Complaint does not contain any allegation, much less a

18    particularized allegation, of how either Mr. or Ms. Schwartz was damaged individually. Thus, the

19    Complaint states no claim upon which relief can be granted as to the Individual Plaintiffs. The

20    Court should therefore dismiss the Individual Plaintiffs’ claims. See, e.g., Tanner v. Hightower, No.

21    EDCV 15-183 JAK(JC), 2016 WL 7974658, at *6 (C.D. Cal. Dec. 13, 2016), report and

22    recommendation adopted, No. EDCV 15-183 JAK(JC), 2017 WL 354172 (C.D. Cal. Jan. 24, 2017)

23    (citations omitted) (“[T]o the extent plaintiff has an ownership interest in Tannerite Sports LLC—

24    plaintiff lacks prudential standing since he has not sufficiently shown that he personally suffered a

25    direct economic harm independent of any injury to the business entity itself”).

26           F. The Complaint Fails to State a Claim Against the Individual Defendants

27           Finally, as to the Individual Defendants, the Complaint wholly fails to identify any

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1     particularized facts reflecting their liability. Beyond allegations as to their alleged citizenship in the

2     section of the Complaint setting forth the Parties to the action (Complaint at ¶¶ 64-65), the

3     Complaint makes no allegations concerning them until the counts, in which the Individual

4     Defendants are lumped in with other Defendants in a conclusory fashion without any factual

5     explication about the nature of their individual alleged conduct that could make them liable to

6     Plaintiffs. This is improper and thus the claims against them must be dismissed. See Swartz v.

7     KPMG LLP, 476 F.3d 756, 764-765 (9th Cir. 2007).

8                                              VI. CONCLUSION

9            For the reasons set forth above, Defendants respectfully request that the court grant this

10    motion and dismiss the Plaintiffs’ claims in their entirety with prejudice.

11                                                           Respectfully Submitted,

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      DATED: June 5, 2020                                    PERRY, JOHNSON, ANDERSON,
13                                                           MILLER & MOSKOWITZ, LLP

14                                                   By:      /s/ David F. Beach
                                                             DAVID F. BEACH
15                                                           SARAH JANE T.C. TRUONG
                                                             Attorneys for Defendants
16                                                           NICHOLAS FINN, et al

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28   DEFENDANTS NOTICE OF MOTION
     AND MOTION TO DISMISS
     CASE NO. 20-cv-2044-SK
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